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                   IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF MISSISSIPPI
                             NORTHERN DIVISION

 CHARLES SLAUGHTER                                                              PLAINTIFF

 VS.                                  CIVIL ACTION NO.: 3:20-CV-789-CWR-ASH

 DR. DANIEL P. EDNEY, in his Official Capacity
 as the Mississippi State Health Officer,                                       DEFENDANT

 MISSISSIPPI ASSOCIATION OF HOME CARE                                        INTERVENOR


                          DEFENDANT’S RESPONSE TO
                  PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


       Dr. Daniel P. Edney, in his official capacity as the Mississippi State Health

Officer, (“Dr. Edney” or “MSDH”), responds to the Motion for Summary Judgment filed by

Plaintiff and urges the Court to uphold the laws of the State of Mississippi. This case is subject

to “rational basis” review and plaintiff cannot carry his heavy burden. Plaintiff has crafted a

narrative that a Legislative Moratorium on the issuance of new CONs for home health

agencies is unconstitutional. But each state in our Republic is unique. Each has its own local

issues and local interests—and therefore must be able to craft legislation as their elected

officials see fit. The Legislative Moratorium and the CON Laws are matters of legislative

prerogative and Plaintiff has not and cannot meet his burden to prove the irrationality of the

posited State interests furthered by the laws. As demonstrated in the competing motions for

summary judgment filed by Dr. Edney and MAHC, there is ample evidence in support of the

Legislature’s rationale at the times when it acted. It cannot be said that the rationales of the

Legislature are not “fairly debatable.” At the very least, on both the Legislative Moratorium

and the CON Laws in general, there exists valid arguments for and against the maintenance

of the laws. Reasonable “experts” in healthcare planning can disagree as to the merit of the
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laws. At bottom, the ongoing policy debate about CON requirements means the laws here

should be upheld. As demonstrated, the Legislature can act when it deems appropriate, and

not act when the policy arguments asserted by Plaintiff fail to sway the body’s majority.

1. Plaintiff’s Motion was Untimely.

       On October 26, 2023, this Court entered a Text Only Order resetting the major

CMO deadlines. See Docket Entry on October 26, 2023. Following a telephonic

conference on the Fourth Joint Motion for Extension of Deadlines [71], requesting a fifth

scheduling order in this case filed in 2020 the Court granted the motion [71] and by

agreement of counsel, entered the following Scheduling Order: “(1) All discovery must

be completed by 1/1/2024; (2) All dispositive motions and Daubert-type motions must be

filed by 2/2/2024; … No further extensions will be granted.” Id.

       On February 2, 2024 (the motion deadline), both Dr. Edney (for MSDH/the State)

and the intervenor, Mississippi Association of Home Care (MAHC), filed their separate

Motions For Summary Judgment and supporting memoranda. See Doc. 82, 83, 84, & 85.

MAHC also filed its Daubert motion to exclude and memorandum in support. Doc. 86 &

87. At 8:30 p.m. on the filing deadline day, MSDH and MAHC were first notified that

Plaintiff’s attorney did not expect he would be able to comply with the motion deadline.

Plaintiff’s counsel represented at that time that he would file his motion on the next

day, Saturday, February 3, 2024. On Saturday morning, counsel for MAHC assented to

Plaintiff’s proposal, with the understanding that Plaintiff’s counsel would not review

the filings that were made by MSDH or MAHC on February 2nd. By the following

Monday, still nothing was filed.

       One week later, on February 9, 2024, Plaintiff finally filed his Motion and

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Memorandum seeking summary judgment. Doc. 88 & 89. This filing was untimely

based on the Court’s October 26 Order. The Court’s deadlines must mean something.

While Dr. Edney is sympathetic to the situation with Plaintiff’s counsel, the fact remains

that the deadline was missed by a full week. No request for an extension was lodged. No

motion for leave to file beyond the deadline was made. Dr. Edney believes that some

motion seeking relief from the Court should have been filed, and that under the rules of

this Court, the motion was inexcusably tardy. Dr. Edney therefore asserts that the Court

would be well within its discretion to disregard the Motion filed by Plaintiff.

2.   Plaintiff Cannot Meet His Burden of Persuasion/demonstration.

       “Plaintiff’s federal substantive due process and equal protection claims are governed

by the rational-basis test.” Doc. 89 at 12. Under that test, Plaintiff admittedly must show that

Mississippi’s moratorium statute and CON law are not rationally related to a legitimate state

interest. Id. When a properly enacted statute is challenged on the basis of its

constitutionality the legislative action is accorded “a strong presumption of validity.”

FCC v. Beach Commc'ns, Inc., 508 U.S. 307, 314–15 (1993). The statutes “must be

upheld ... if there is any reasonably conceivable state of facts that could provide a

rational basis for the classification.” Glass v. Paxton, 900 F.3d 233, 244-45 (5th Cir.

2018). The CON Law and the Legislative Moratorium must be sustained if there is a

rational basis on which the legislature could have thought that it would serve legitimate

state interests. See Dobbs v. Jackson Women's Health Org., 597 U.S. 215, 142 S. Ct.

2228, 213 L. Ed. 2d 545 (2022); see also Beach Comm’ns, 508 U.S. at 314. (noting that

the Supreme Court does not require “a legislature to articulate its reasons for enacting

a statute [because] it is entirely irrelevant for constitutional purposes whether the

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conceived reasons for the challenged distinction actually motivated the legislature”).

Plaintiff here challenges an economic statute pursuant to the rational basis test and

therefore faces a difficult undertaking: he must “negative every conceivable basis which

might support” the legislation. Id.; Lehnhausen v. Lake Shore Auto Parts Co., 410 U.S.

356, 364 (1973). He has failed to do so.

       “Rational-basis review is guided by the principle that [courts] don't have a license

to judge the wisdom, fairness, or logic of legislative choices.” Hines v. Quillivan, 982

F.3d 266, 273 (5th Cir. 2020). So, when “economic legislation is at issue, the Equal

Protection Clause allows the States wide latitude, and the Constitution presumes that

even improvident decisions will eventually be rectified by the democratic processes.” Id.

(citing City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 440 (1985)). As the Court

is aware, the ongoing debate about this issue and other medical spending related topics

is currently raging in Mississippi. See passim Doc. 85. 1

       Plaintiff’s Motion presents cherry-picked bits of information accumulated after the

adoption of the laws to craft a fanciful narrative that the only reason for numerous ills in the

Home Health Agency (“HHA”) industry is the Legislative Moratorium. Plaintiff gives lip-

service to the CON Laws in general and frankly provides nothing to support his position that

the State’s enumerated or otherwise now argued interests are irrational. His focus now


1 State spending on healthcare is clearly still debatable. The Court only need look to the recent

announcement by the Mississippi Senate that—after many years of debate and refusal to do so—it will
bring forward a bill this session to expand Medicaid coverage up to 138 percent of the federal poverty
level. https://magnoliatribune.com/2024/02/15/congratulations-to-brandon-presley-mississippi-
democrats/ On February 28, 2024, two days prior to this filing, the Mississippi House passed HB 1725
to expand Medicaid. https://magnoliatribune.com/2024/02/28/mississippi-house-passes-speaker-whites-
medicaid-expansion-bill/ Whether or not it ultimately passes is irrelevant. The analogous point with
this lawsuit is that there are many advocates (with rational arguments) on both sides the issue as to
Medicaid expansion and the CON/HHA Moratorium.
https://billstatus.ls.state.ms.us/2024/pdf/history/HB/HB1725.xml

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appears to be on the moratorium’s alleged unconstitutionality due to its existence since 1983.

In fact, Plaintiff’s best argument to overturn the Legislative Moratorium is to repeatedly

reference it as the “43 year” moratorium. Evidence or conjecture that the Legislative

Moratorium has caused some form of “harm” in the eyes of Plaintiff does not prove that the

law is irrational. It only counterbalances the evidence presented by MSDH and its expert to

the contrary. Doc. 85; Sullivan Rpt. at Doc. 84-4. And the length of time since the moratorium

was enacted is likewise irrelevant. Plaintiff can cite to no constitutional requirement that any

state is required to periodically review and amend certain economic statutes based on some

arbitrary number of years. Dr. Edney has discovered no such precedent either—quite the

opposite. Federal courts are not in the business of mandating states must include sunset

provisions in all economic statutes or else risk an otherwise valid law be deemed violative of

the Due Process Clause. See infra discussion on Murillo v. Bambrick, 681 F.2d 898, 911

(3d Cir. 1982)(no obligation for states to constantly reconsider adopted statutes).

       Plaintiff further relies erroneously on this Court’s interim Order denying 12b(6)

motions as a source of support for Rule 56 summary judgment. His reliance on this Court’s

earlier Order denying the 12(b)(6)/12(c) pre-discovery motion is misplaced as it is not “law of

the case.” See Lockheed Martin Corp. v. Network Solutions, Inc., 141 F.Supp.2d 648, 654

(N.D. Tex. 2001) (rejecting argument that “court implicitly agreed with plaintiff as to the

potential merits of its claims” by denying defendant’s motion to dismiss because law of the

case doctrine does not bar court from reaching a “different conclusion[]” on summary

judgment). A Rule 12(b)(6) motion only tests the sufficiency of the allegations in the pleadings.

Summary judgment cases and trials test the sufficiency of the evidence. See May v. City of

Arlington, Texas, 398 F. Supp. 3d 68, 87 (N.D. Tex. 2019), supplemented, No. 3:16-CV-1674-

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L, 2019 WL 1429662 (N.D. Tex. Mar. 28, 2019). Plaintiff has had his extensive discovery and

now must demonstrate that the factual change in circumstances or the alleged irrationality

of the laws, completely negate any plausible state interest that the legislature could have

believed at the time of adoption would be furthered by the laws challenged here.

       The rational basis test does not prevent plaintiffs from using “evidence of irrationality”

to negate every conceivable basis for the law. MJP Order (Doc. 32) at 8 (citing United States

v. Carolene Prods. Co., 304 U.S. 144, 153, (1938)). And Plaintiff’s attempt to use evidence of

irrationality is admirable, but it does not negate all rationality of the CON Laws or the

Legislative Moratorium. At best, Plaintiff has tarnished certain features—such as “access”—

but Dr. Edney’s cross motion (and that of MAHC) in favor of the State definitively shows that

there are several plausible benefits to the State and/or its public. Doc. 84, 85, 82, 83. In

support of its Response per Rule 10, MSDH hereby incorporates by reference the

aforementioned filings, as well as Docs. 18, 19 (MSDH MJP), 86, 87 (MAHC Daubert Motion),

and all supporting documentation referenced or attached thereto; and the following exhibits

attached to Plaintiff’s motion. Doc. Nos. 88-[2-26].

3.   The State Has No Duty to “Prove” Anything Here.

       Plaintiff asserts that “courts will not, in the absence of any proof, assume that

the nonmoving party could or would prove the necessary facts.” Doc 89 at 12. But that

is only in the normal context of Rule 56. In a rational basis challenge, the State does not

have to prove anything to establish the laws are valid. First, rational-basis review does

not require a State to produce evidence that a law will (or does) achieve its objectives. See

Heller v. Doe, 509 U.S. 312, 320 (1993) (“A State ... has no obligation to produce evidence to

sustain the rationality of a statutory classification.”); Beach Commc'ns, 508 U.S. at 315

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(holding that a legislative decision “is not subject to courtroom factfinding and may be based

on rational speculation unsupported by evidence or empirical data.”). Rational-basis review

asks only whether it is possible to imagine that Certificates of Need (or a lack thereof via a

moratorium) could contain state costs and/or improve patient care across Mississippi. See

Minnesota v. Clover Leaf Creamery Co., 449 U.S. 456, 466 (1981) (it was irrelevant “[w]hether

in fact the Act will promote more environmentally desirable milk packaging,” because the

legislature “could rationally have decided that its ban on plastic nonreturnable milk jugs

might foster greater use of environmentally desirable alternatives.”) (emphasis in original).

The CON Laws and the Moratorium statute easily satisfies that standard given that the

parties’ experts locked horns on this issue. See infra; Doc.85 at 14-16. Plaintiff’s inability to

now disprove that each of the State’s purported interests is completely divorced from the text

of the CON Law and/or Legislative Moratorium, is fatal to his action now and must result in

judgment in favor of the State.

       Second, rational-basis review does not allow courts to invalidate a law by weighing

evidence or resolving disputed questions of fact. Thus, the usual Rule 56 standards do not

apply here. The mere existence of disagreement over the need for or desirability of a law

is enough to establish a “reasonably conceivable state of facts that could provide a rational

basis.” Beach Commc'ns, 508 U.S. at 313; see also Clover Leaf Creamery, 449 U.S. at 464

(“Litigants may not procure invalidation of . . . [a law] merely by tendering evidence in

court that the legislature was mistaken.”). As the Seventh Circuit has explained, “to say

that such a dispute exists--indeed, to say that one may be imagined--is to require a

decision for the state. Outside the realm of “heightened scrutiny” there is therefore never

a role for evidentiary proceedings.” Nat'l Paint & Coatings Ass'n v. City of Chicago, 45

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F.3d 1124, 1127 (7th Cir. 1995)(district court should not have conducted a trial, and we

disregard its conclusions)(emphasis added). The rational-basis analysis in this lawsuit

should thus fairly end as the State’s long-time health planning expert opined that the

CON requirements help to ensure inter alia, cost-containment, continuity of care,

accessibility, and acceptability of services by protecting patients from substandard

practitioners. Doc. 85 at 14-16; Doc. 84-4.

      Third, rational-basis review does not require a State to use the least restrictive

means of advancing its interests. See Ileto v. Glock, Inc., 565 F.3d 1126, 1152 n.8 (9th Cir.

2009); Tolchin v. Supreme Court of the State of N.J., 111 F.3d 1099, 1114 (3d Cir. 1997);

Cash Inn of Dade, Inc. v. Metro. Dade Cnty., 938 F.2d 1239, 1243 (11th Cir. 1991).

Plaintiff’s fundamental assertion is that the state’s restrictions on new HHAs is too

restrictive, arguing for a “free market” approach to home health in Mississippi. As shown,

the CON Laws and the Legislative Moratorium are not singling out HHAs. HHAs happen

to be one of the facility types for which the Legislature has severely restricted supply.

There are four other health care facilities that are also—for the time being—restricted

under the moratorium statute. Miss. Code Ann. §§ 41-7-191(8). All the current facilities

on the list are primarily “government” pay facilities. In industries where the government

is the primary payor (Medicare and Medicaid dominant, such as HHA) the state’s direct

benefit in limiting the number of providers (who can bill the government) is to reduce or

contain the costs to the government. Sullivan Rpt. Doc. 84-4 at 8:FN.8, 12-15.

Additionally, the cost containment interests served by CON Laws are similarly served by

the complete prohibition (moratorium) on the issuance of a new CON for HHA. There is

clearly a rational basis for the laws at issue and the fact that the Plaintiff can posit

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another option he believes will achieve the same goals in a different manner is, again, not

proof that the laws are unconstitutional.

      In sum, there is no room for the Court to weigh opposing evidence or make findings

that Plaintiff’s “proof” is more convincing than the State’s. Ultimately, it would not matter

whether those findings are right or wrong; they would be irrelevant because a legislature’s

decision “is not subject to courtroom factfinding” when applying rational-basis review. See

Nat'l Paint & Coatings Ass'n, 45 F.3d at 1127 (quoting Beach Commc'ns, 508 U.S. at 315).

It is certainly possible to imagine that a law restricting the number of HHA providers will

control State healthcare costs, further consumer safety and improve patient outcomes;

that is all the State needs to establish a rational basis. Whether or not the laws actually

accomplish these purposes is totally irrelevant here, as is Plaintiff’s presented evidence.

4.   The Moratorium and CON Laws Have Not Been Rendered Irrational By Any
Change in Circumstances.
      Slaughter invokes the so-called “changed circumstances” doctrine in support of

his claims that the Moratorium and the CON Laws lack a rational basis. That doctrine

can be traced to the U.S. Supreme Court’s decision in United States v. Carolene Products

Company, 304 U.S. 144 (1938). Carolene Products involved a constitutional challenge to

the Filled Milk Act, which prohibited the sale of milk supplemented with nondairy oil

or fat. Id. at 145-46. The Government defended the statute on the grounds “that the use

of filled milk as a substitute for pure milk is generally injurious to health and facilitates

fraud on the public.” Id. at 149. The Supreme Court upheld the constitutionality of the

statute, reasoning that “the question is at least debatable whether commerce in filled

milk should be left unregulated, or in some measure restricted, or wholly prohibited”

and “was for Congress” to decide. Id. at 154. In dicta, however, the Court observed that

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“the constitutionality of a statute predicated upon the existence of a particular state of

facts may be challenged by showing to the court that those facts have ceased to exist.”

Id. at 153.

      In the nearly one hundred years since, courts have considered the “changed

circumstances” doctrine sparingly. In recent years, federal courts have expressed their

reluctance to invalidate laws under rational basis review based solely on changed

circumstances. For example, Judge Calabresi identified the following problems with

applying the doctrine:

      It is not, however, easy for courts to step in and say that what was
      rational in the past has been made irrational by the passage of time . . . .
      Precisely at what point does a court say that what once made sense no
      longer has any rational basis? What degree of legislative action, or of
      conscious inaction, is needed when that (uncertain) point is reached?

United States v. Then, 56 F.3d 464, 468 (2d Cir. 1995) (J. Calabresi, concurring).

      Similarly, the Third Circuit has hesitated to strike down statutes in light of

changed circumstances because doing so would “impose[] an unwarranted obligation

upon legislative bodies: the obligation constantly to reassess the continuing validity of

the factual premises underlying each piece of legislation enacted over the years.” Murillo

v. Bambrick, 681 F.2d 898, 911 (3d Cir. 1982); see Heffner v. Murphy, 745 F.3d 56, 62

(3d Cir. 2014) (upholding funeral home regulations enacted in 1952 that were regarded

as “antiquated in light of how funeral homes now operate” because “[t]hat is not . . . a

constitutional flaw”). “[J]ust as the Constitution neither demands nor expects perfection

on the part of a legislature engaged in adopting laws . . . , so too the Constitution neither

demands nor expects omniscient oversight on the part of a legislature once those laws

have taken effect.” Murillo, 681 F.2d at 911. Even the Ninth Circuit has called the

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doctrine into doubt. See Burlington N. R.R. Co. v. Dep't of Pub. Serv. Regulation, 763

F.2d 1106, 1111 (9th Cir. 1985) (“The Supreme Court has been ambivalent on whether

changed circumstances can transform a once-rational statute into an irrational law.”).

      Federal district courts have also generally refused to invalidate statutes under

the “changed circumstances” doctrine. For example, in Danker v. City of Council Bluffs,

Iowa, the plaintiffs challenged the constitutionality of an ordinance banning pit bulls,

arguing that, even if the ordinance had a rational basis when it was enacted, it was no

longer rational in light of changes in the scientific understanding of certain pit bull

breeds. 569 F. Supp. 3d 866, 881 (S.D. Iowa 2021), aff'd, 53 F.4th 420 (8th Cir. 2022).

The district court rejected this argument because it “invite[d] the kind of ‘courtroom

fact-finding,’ years later, that the court is not permitted to engage in under rational

basis review, in the first instance.” Id. at 882 (quoting Beach Commc’ns, Inc., 508 U.S.

at 315). Further, the court concluded that it would not “short-circuit the democratic

process in this case and impose its view of facts” and that “[t]he proper venue for the

dog owners’ ‘current science’ and ‘change of circumstances’ arguments to overturn the

pit bull ban is the responsible legislative body, not the court.” Id.; accord Jones v.

Schneiderman, 888 F. Supp. 2d 421, 429 (S.D.N.Y. 2012) (“But if the evolution of MMA

and the understanding of its risks have rendered the 1997 law unnecessary or unwise,

Plaintiffs’ proper recourse is with the legislature because the ‘Constitution presumes

that, absent some reason to infer antipathy, even improvident decisions will eventually

be rectified by the democratic process[.]’”) (quoting Beach Commc’ns, 508 U.S. at 314).

      The only cases in which federal district courts have declared laws

unconstitutional under the “changed circumstances” doctrine are those in which it was

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indisputable that the factual circumstance on which the law was predicated no longer

existed. In Santos v. City of Houston, the owner of a jitney (taxi) service challenged the

constitutionality of an ordinance enacted in 1924 that prohibited jitneys with a seating

capacity of less than 15 passengers from operating on the streets of Houston. 852 F.

Supp. 601, 603 (S.D. Tex. 1994). The ordinance had been passed by the city at the

insistence of streetcar companies in order to protect them from competition, but when

this suit was filed, there were no streetcars still operating. Id. at 603. The district court

declared the ordinance unconstitutional based, in part, on the city’s “conce[ssion] that

the ordinance [wa]s archaic and no longer relevant.” Id. at 608. The district court held

that even if the ordinance originally had a rational basis, that rationale had been

completely undercut by the changes to the transportation industry during the

intervening seventy years. See id. at 609 (“Thus, even if the ordinance ever had a

purpose, legitimate or not, its utility has passed.”) (citing Carolene Prod. Co., 304 U.S.

at 154). No similar drastic change has occurred in HHA such that the Moratorium or

CON Laws undisputedly no longer have any application or are obsolete.

      Here, Slaughter argues that, even if the Moratorium and CON Laws were

rational when enacted, they no longer have a rational basis because of changed

circumstances. Plaintiff’s Motion then proceeds to rely solely on post hoc evidence in a

failed attempt to “prove” that the laws do not accomplish their goals. Post hoc evidence

should not even be considered, much less weighed, in a rational basis analysis. See

supra. But even so, Slaughter has failed to meet his burden of showing that the home

health care industry in Mississippi has fundamentally changed in the last forty years,

such that it is not “debatable” whether the challenged laws still have a rational

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connection to at least one legitimate state interest. FM Properties Operating Co. v. City

of Austin, 93 F.3d 167, 175 (5th Cir. 1996) (holding that, if the question “whether a

rational relationship exists between the policy and a conceivable legitimate

governmental objective” is “at least debatable,” the policy passes constitutional muster).

       Slaughter contends that the laws have been rendered irrational because of

COVID 2, or because the number of (private) HHAs operating in Mississippi is now only

46 agencies, and the number of patients receiving home health services has increased

since enactment. However, none of these changes have severed the rational relationship

between limiting the number of providers (through CON and the Moratorium) and the

State’s legitimate interests in cost-containment, ensuring continuity and availability of

care, and protecting health and safety. See infra. While it is true that the number of

licensed HHAs in Mississippi has fallen to 46, there is still “a competitive market for

home health services” throughout Mississippi. Doc. 84-4 at 6. In 72 of Mississippi’s 82

counties, there are at least four HHAs currently providing services. Id. In the other ten

counties, there are at least two or three HHAs. Id. Moreover, the reduction in the

number of HHAs in Mississippi has not impaired patient access to home health services.

See id. at 19 (“Mississippi had the highest rate of Medicare patients served per 1,000

population in the United States). Accordingly, Slaughter cannot prove that these

changes in circumstances have rendered the Moratorium and CON Laws irrational.

       Slaughter also argues that CMS’s reduction in the Medicare/Medicaid

reimbursement rate for home health services has undermined the rationale for enacting


2 Sullivan has explained that contrary to Plaintiff’s attempted reliance on COVID as a convenient

excuse to bolster his position in this case, COVID is a non-factor—red-herring—distraction. Doc.84-4 at
6. Plaintiff cannot show there was a “need” for his services even during COVID. Id. Utilization of HHA
services decreased across the State and nation. Id.
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the Moratorium and the CON Laws. However, just the opposite is true. Because HHAs

are not paid as much by Medicare and Medicaid, they need sufficient patient volume to

make up for this reduction and ensure that they can remain profitable enough to

continue providing services to those patients. Doc. 85 at 25-26. By limiting the number

of HHAs, the Moratorium and the CON Laws guarantee HHAs sufficient market share,

and thereby advance the State’s interest in ensuring continuity, quality, and availability

of care. See Tiwari v. Friedlander, 26 F.4th 355, 364 (6th Cir. 2022) (finding that HHAs

can “use the larger market share and increased patient volume that come with the entry

restriction to operate more efficiently and to ensure a wide range of services in areas

with smaller populations”). This argument is without merit.

      Finally, Slaughter argues that, because the federal government repealed the

CON requirement, that change in law undercuts the rationale for Mississippi’s CON

Law and Moratorium. But the existence of the federal law requiring States to adopt

CON regulations was just one valid factual predicate for Mississippi’s adoption of its

CON Law and the imposition of the Legislative Moratorium. As shown, the Legislature

could easily justify adopting the CON Laws based solely on the federal monetary

incentives to the State. Doc. 85 at 18-19. To prevail on his claims, Slaughter must

negate every conceivable rational basis which might support the CON Laws and the

Moratorium. He has not done so.

      In sum, although some changes in the home healthcare industry have occurred

since the enactment of the CON Laws and the Moratorium, those changes have not

called into question the rationality of those laws. It remains “at least debatable” whether

there is a need for more HHAs in Mississippi. Indeed, the continued need for the

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Moratorium has been the subject of discussion and legislative re-evaluation for many

years. 3 However, given the ongoing debate in Mississippi about CON Laws in general

and the Moratorium specifically at issue here, it would be improper for this Court

intervene and strike down these laws as outdated or obsolete. The proper forum for

Plaintiff’s “changed circumstances” argument is the Mississippi Legislature, not this

Court.

5.       The Legislative Moratorium is Valid, not Unconstitutional.

         Turning now to the main thrust of Plaintiff’s Motion, his assertion that the

Legislative Moratorium violates constitutional provisions is meritless. 4 By not even

attempting to address enumerated state interests served by the CON Laws, Plaintiff

tacitly concedes that he cannot defeat the CON Laws as a whole. Plaintiff instead claims

first that the sheer numbers demonstrate Moratorium is irrational. Slaughter states ad

nauseum that it has been 43 years the enactment of the 1983 statutory amendment,

and that over that time the number of patients using home health services has

quadrupled. Doc. 89 at 3. To demonstrate his perceived absurdity of the Moratorium, he

then states that there were 135 Home Health Agencies then, and only 46 now. Id. What

Plaintiff has failed to disclose here is that at the time when HHAs were added to the

CON Laws in 1979 and 1983, there were over 80 MSDH run home health agencies. 1986

Doc. 84-3 at 1981-86 SHP at p. 232; Lampton Depo at 31:13-33:1; 121:7-21. These state-




3 As recently as the year 2020 and again in 2021, the Mississippi Legislature considered, but refused to

act on, bills to lift the statutory moratorium on the issuance of CONs for new home health agencies.
See 2020 HB 606; 2020 HB 605; 2021 SB 2747; 2021 HB 602. For the current 2024 session, there
currently exist almost 40 bills that concern the CON Laws or moratoria. See e.g. 2024 SB 2887; SB
2870; HB27; HB 322; HB 922; HB 1412.
4 See Miss. Code §41-7-191(1)(d)(ix) which imposes the CON requirement for home health agencies and

§41-7-191(9) which imposes the moratorium on granting new CONs for home health agencies.
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run HHAs were the first to offer home-health services and were run out of each county’s

health department. Id. Around five years ago the last of them was shuttered as there

was no longer a need due to ample coverage by existing private HHA providers. Id.

Comparing “apples to apples,” there were 55 private entity providers in 1983—and 46

currently. This hardly undermines the rationality of the Moratorium.

       Plaintiff goes one step further, however, manipulating statistics to claim that

there are only “1/5 the number of HHAs now when accounting for consolidation in

ownership.” By Plaintiff’s logic every Kroger grocery store in the state would only be

counted as “one” store since they are owned by the same company. That is “fuzzy math”

and disingenuous. In point of fact, there are currently 107 branch agencies operating

throughout the state. Doc. 84-4 at 6.

6.     Economic Protectionism Does Not Invalidate the Rationally Adopted CON Laws

       Plaintiff transitions into what is perhaps his primary general argument, that the

challenged laws are nothing more than economic protectionism. Doc. 89 at 9, 30.

Plaintiff cites “all the existing providers” support of the moratorium as some sort of proof

that the statute is irrational. Id. at 9-10. But again, the relevant inquiry whether any

purported state interest is “fairly debatable.” MSDH and MAHC have demonstrated

that economic protectionism is not the purpose of the Moratorium. Doc. 84, 85, 82, 83.

Certainly, it is not the only purpose.

       Plaintiff is correct that economic protectionism by itself, might not be a legitimate

state interest. Doc. 89 at 31. But it is not the case here that the “only remaining

explanation is that they are ‘naked economic preferences.’” Id. quoting St. Jospeh Abbey

v. Castille, 712 F.3d 215, 223 (5th Cir. 2013). The Fifth Circuit has “recognized that a

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law is not necessarily irrational merely because it is “motivated in part by economic

protectionism.” Newell-Davis v. Phillips, 2023 WL 1880000 at *4 (5th Cir. 2023) quoting

Greater Hous. Small Taxicab Co. Owners Ass'n v. City of Houston, 660 F.3d 235, 240

(5th Cir. 2011). See Martin v. Mem'l Hosp. at Gulfport, 86 F.3d 1391, 1399–400 (5th Cir.

1996)(upholding CON law and acknowledging “the Mississippi [CON] statutes

demonstrate that the state legislature clearly contemplated anticompetitive conduct.”).

Both the Moratorium and the CON Laws in general, provide cost containment to the

government, assure accessibility, availability, and continuity of care as described in the

cross-motions filed by MSDH and MAHC. Importantly, administrative oversight and

the resulting consumer benefits that arise from maintaining a reasonable number of

providers, is also benefitted by the Moratorium (and the CON Laws). Even if Plaintiff

could prove the result of the laws is some measure of economic protectionism—which he

cannot do—any other rational reason for the laws is enough to warrant deference to

legislative prerogative.

      Plaintiff’s reliance on St. Joseph Abbey is here misplaced. That case concerned

restricting intrastate casket sales to licensed funeral directors. The Fifth Circuit

concluded that the challenged restriction was not rationally related to consumer

protection or public health and safety because Louisiana did not have any consumer

protection or health and safety regulations specifically applicable to casket retailers.

712 F.3d at 224 (“No rule addresses casket retailers or imposes requirements for the

sale of caskets beyond confining intrastate sales to funeral homes.”). Hence, the court

held that, because of a complete dearth of any explanation other than economic

protectionism, the restrictive statute was unconstitutional. Id. at 223. This case is

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distinguishable because it involves “a highly-regulated healthcare sector,” in which the

government pays for 77% of the care, and in which “government resource constraints

can be detrimental . . . to consumers.” Newell-Davis, 2023 WL 1880000, at *4. As

demonstrated by MSDH, the CON Laws and the Moratorium have distinct and

numerous interests that could reasonably be believed would be advanced by the

adoption of both laws at issue.

      Plaintiff further provides this court with a string-cite of cases that he asserts

support his position, starting with the Bruner v. Zawacki case. Doc. 89 at 31. But every

single one of the cases cited for support by Plaintiff have nothing to do with government

direct spending on services, such as HHA. Household movers, sellers of ice, tax

preparers, and plumbers are all inapposite. See id. None of these cases relied upon by

Plaintiff are comparable with this current lawsuit because none of them addressed the

state’s interests when the state is on the hook to pay the bills for the restricted service.

      Plaintiff’s misplaced reliance on this Court’s Order denying the 12(b)(6) motions

is previously addressed, but Plaintiff nevertheless further cites the case of Tiwari v.

Friedlander wherein, in dicta, the Sixth Circuit quoted directly from this Court’s interim

Order of denial that “Mississippi’s 40-year moratoria is an outlier.” Doc 89 at 32. 26

F.4th 355, 363, 369 (6th Cir. 2022). This is perhaps the most compelling argument

Plaintiff makes of the time that has elapsed since adoption, except Plaintiff has buried

the lede. The Sixth Circuit in Tiwari upheld on summary judgment the same

constitutional challenge made here, with the same experts, as to Kentucky’s CON

restrictions, which likewise limited entry into Kentucky’s home health sector. Id. And

while the Sixth Circuit felt obliged to distinguish this case from that one in dicta, it is

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not binding on this Court in any way. It certainly does not establish that the statute is

unconstitutional any more than if Plaintiff had called the Moratorium an outlier

himself. It is nothing more than a circular quote of this Court’s interim Order, which

relied upon the interim order denying the 12(b)(6) motion of Kentucky’s AG in the Tiwari

District Court. Interim Orders denying a motion to dismiss are simply not precedential

or authoritative for usage in this or any another case. See Lockheed Martin, 141

F.Supp.2d at 654. The fact is that Moratorium is not without mechanism for amendment

should the experts or the Legislature agree that a need is present for more HHA

providers; and it is not unconstitutional simply because it appears at first blush that

the law is an “outlier.”

      Lastly, the fact that current HHA providers are not opposed to the existence of

the Moratorium is not proof that the Legislature’s actions were irrational in 1979, 1983

or in 1986. That tid-bit is proof of nothing. Of course, the existing providers have similar

interests to those posited by the state as valid reasons for the statutes at issue. But

Plaintiff fails to recognize that the motivation of the existing providers could just as

easily be because they want to maintain their patient census so that they remain

economically viable. The State has shown that continuity of care is one of the important

reasons for the CON Law and Moratorium. Doc. 85 at 22-24. Likewise, the State has a

legitimate interest in keeping bad actors or fly-by-night HHA operators from poisoning

the industry by committing fraud or providing poor services to consumers. Id. The fact

that various parties’ interests may align is not proof of irrationality or pure economic

protectionism.




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7.     The Moratorium has Several Rational Bases that Might Serve State Interests.

       Plaintiff has repeatedly claimed the Legislative Moratorium is “permanent” or

“perpetual”. This is again hyperbole by Plaintiff. As with any law passed by the peoples’

representatives, the law stands unless and until the body decides to repeal or amend it.

As shown in the MSDH motion, history is replete with examples of the Legislture

changing the CON laws, including other moratoria. Doc. 85 at 8-9. Some amendments

were to remove facilities; some to add facilities; and some to change to provisions

applicable to certain industries (e.g. nursing home threshold moved to 60 beds and off

the moratorium). Id; see also Lampton Depo, Doc. 88-2 at 25:14-27:23. 5 The process set

up by the Legislature works, and it is entirely reasonable that the Legislature could and

would rely upon subject matter experts at the Board of Health and MSDH to recommend

if/when HHAs should be removed from the Legislative Moratorium at §41-7-191(8). Doc

85 at 10-11.

       Plaintiff specifically claims there is “no public benefit” to the Moratorium. Doc.

89 at 13. And that “[h]e only needs to show that the moratorium causes some harm to

consumers – all while providing no public benefit and crushing the dreams of aspiring

entrepreneurs. See St. Joseph Abbey v. Castille, 712 F.3d 215, 223 (5th Cir. 2013).” Id.

This is a misstatement of his burden, based on a case that did not even deal with an

industry where the state government is a major payor to providers. Medicaid and

Medicare don’t pay for caskets directly. The asserted interests furthered by the laws at

issue here are much different from an industry (such as coffins) where there is primarily


5 “[T]he moratorium on nursing homes is directly related to Medicaid expenditures, which I'm sure

you're aware of. So, they tried to provide the fewest numbers of nursing homes because the primary
provider at nursing homes is the Medicaid system, which it does have state dollars going into it.” Id. at
26:25-27:6.
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a consumer payor, and the government is not directly paying for the service. As such,

Plaintiff must show on summary judgment that all the interests posited in favor of the

laws are irrational and completely without merit. Plaintiff has failed to meet his burden.

Plaintiff cannot cite this Court to any case where cost control of direct governmental

payments is found to be unconstitutional. This is because the equation is completely

different when the government is the payor, such as HHA.

      Next, Plaintiff asserts that MSDH’s expert Dan Sullivan provides no support in

his report for the Moratorium. Sullivan allegedly admitted he has no ‘evidence’ to

support the moratorium. Doc. 89 at 13. Primarily, this is wrong factually. See Doc. 84-4

at pp. 3 (3); 7, 16, 19, 31. Even so, the State’s expert does not need firsthand “evidence”

of why the Legislature added HHA to the Moratorium statute in 1983. The State’s

rationale is also supplied by common sense, rational speculation, and by the people that

process the CON applications at the MSDH. The people that study and consider and are

charged, by statute, to make determinations and recommendations to the Legislature

based on “boots on the ground” observations and the best data available. Doc. 85 at 10.

      Dr. Lampton clearly testified as to his 30-year understanding of the original

rationale for the Moratorium was that there was a proliferation of home health agencies

at a time when there was no need for additional agencies and the legislators. Lampton

Depo at pp. 41-43 & 47. There continues to be “no need” and Plaintiff cannot prove

otherwise. Regardless, it is at least “fairly debatable,” and thus is a legislative judgment.

Additionally, the HMA reported that 10-18 applications were received for each of the

past 8 years. Doc. 84-6; see also Doc.84-4 at 24. Each year MSDH planning division

receives and processes somewhere between 10 and 18 applications for a CON, across all

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19 facility types that are required to have a CON. Id. The removal of the Legislative

Moratorium on HHAs would thus necessarily increase the burden to process all the new

HHA applications, even though there is no need for additional providers and Plaintiff

has not even attempted to show “need.”

        Moreover, the CON Application process is not simply “rubber-stamping” by any

means. It requires a substantial amount of compliance with various standards and

regulations. There is a “pre-application” process to that can be utilized by the applicant

to assure compliance prior to final submission. Doc. 84-4 at 24-25. The process takes

time. Id. The statutory process requires public notice and an opportunity to be heard.

Id. at 25. Any affected party, including existing providers, can receive a hearing before

the Board. Id. A decision by the Board is then followed by a guaranteed right of appeal

to Chancery Court. Miss. Code Ann. § 41-7-201. The point of this background is to

demonstrate that just the CON Application is long process and can be taxing on both

MSDH and the Board of Health.

        As explained by Dr. Lampton, a 2- or 3-person operation 6 that is currently

handling at most 18 applications a year, would be substantially affected even if there

are only nine new applications in any given year. That’s a 50% increase. There are over

4000 licensed PTs and OTs in Mississippi, including the Plaintiff. When other licensed



6 Lampton Depo. Doc. 88-2 at 39:13-20. “A: Well, we do a very limited staff at the Department. Our

whole CON process is handled by, I think, three full-time employees. And I think we have three others.
So six people, half of them part time, do everything there is to do with CON. So they don't -- we don't
have a lot of staff with time on their hands to do things that aren't critically important.” See also id. at
97:2-10; Id. at pp. 183 -184 “The concern about -- you know, the reason to raise the moratorium or get
rid of the moratorium would be that there would be a need for more home health. If there's not a need,
then it would just be more work for my staff. From a purely selfish standpoint as a Department, I don't
need to give my CON staff any work that's not essential for the public good, and it's not going to be
acted on and gone forward with. So we have a very lean staff, and I think -- and that's not going to
change. So any unnecessary work I would not want for my Department.” 184:9-21.
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professionals realize that Plaintiff has allegedly discovered a way to turn more profit

(by increasing reimbursement from CMS as an HHA) it is completely reasonable to

anticipate that many more than just nine others will follow Mr. Slaughter’s lead.

Processing unnecessary applications is a burden on the MSDH staff, the Board of

Health, and the Court system. It is very logical to imagine that the Legislature might

eliminate this unwarranted burden via the HHA Moratorium.

       Plaintiff has repeatedly harped on the fact that there are now “only” 46 Home

Health Agencies that operate throughout the state. Assuming arguendo plaintiff

succeeds—and the doors are thrown open to all comers to become a qualified provider

for Medicaid/Medicare as an HHA—only a small increase in providers would

substantially increase the regulatory oversight by MSDH. See licensing director Glenn

Woods Depo., Doc. 88-10 at 40:4-23. MSDH is not a private entity and does not have the

ability to simply hire more qualified examiners on a whim. Id. at 61;3-9 (“it would

stretch our resources very thin…”); 64:25-65:6 (not able to fill open positions). Not to

mention that MSDH is hiring nurses as examiners and cannot come close to competing

with private nursing on salary. Id. at 63:13-20; 66:2-6 (“what we’ve seen it tends to be

salary driven. … the state cannot, you know, match what a nurse can get in the private

sector right now.”). A small increase could significantly impact the ability of the MSDH

to provide effective oversight and protect HHA patients and the public health in general

by assuring that consumers benefit from cooperative and effective regulatory oversight

of HHAs. 7 HHAs send employees into the homes of the most vulnerable of Mississippi’s


7 Glenn Wood Depo at p. 53:8-13  “Q: Would it be impossible to conduct those complaint investigations if
the moratorium were removed? A: I would still say it would make it more difficult. We would do the best
we could with the resources that we had, but I don't know if it would be impossible or not … until we're
actually faced with that.”
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patients. Hence, the Legislature’s decision that Mississippi does not need 200 or 300

Home health agencies—to assure high quality services by maintaining a reasonable

number of approved providers is therefore completely rational. See also Lampton Depo

Doc. 88-2 at 189 (“in my 30 years, I have never heard anyone say we need more home

health agencies.”); supra FN 6. Thus, the Moratorium, which indisputably curtails the

number of providers to a manageable number, is a valid legislative prerogative and does

not violate constitutional provisions.

8.    Maintaining a Reasonable Level of Providers Such That Administrative
Oversight is Effective to the Benefit of HHA Patients is a Legitimate Purpose.
      Plaintiff continues that “even if the moratorium does make the government’s job

easier in some respect, that alone cannot justify the moratorium.” See e.g. Vlandis v.

Kline, 412 U.S. at 451 (1973) (the state’s interest in “administrative ease” does not

satisfy due process); Plyler v. Doe, 457 U.S. 202, 227 (1982) Doc. 89 at 15. However,

when there is a consumer benefit related to the ability to maintain reasonable state

oversight, the state’s interest is valid. Newell-Davis, 2023 WL 1880000 at *4 (“In

healthcare, limiting the number of regulated providers can increase the quality of

services for consumers in a way that may not necessarily translate to other industries.”).

      In Newell-Davis, a panel of the Fifth Circuit upheld a health care “facility need

review” regulation based on the state agency’s argument that its “resource constraints

[made] effective oversight impossible” absent the regulation. Id. at *4. Again, that case

did not pertain to government payor services such as HHA. It had to do with “respite

homes” located in New Orleans and oversight thereof. Respite homes are not “medical”

facilities. Id. They are basically adult day-care. Thus, the state did not have the similar

interests to CON as there was no cost containment or continuity/availability issues to

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consider. Furthermore, and importantly, the Fifth Circuit said clearly that so long as

there is a rational belief that the laws would benefit the consumer because of an

economic statute which limits providers, and further the government’s ability to provide

oversight and not be overwhelmed, that is certainly a legitimate state interest. Id.

      This is exactly what the Legislative Moratorium arguably does here. See supra

at Section 7. It indisputably prevents consideration of new HHA applications for a CON.

By this, it prevents the need for MSDH to consider unlimited amounts of applications

for a CON that is not needed. Supra FN 6. The complicated process of the CON

application, resultant hearings, public notice, and ultimately appeal to the Chancery

Court are undoubtedly a waste of taxpayer resources if there is a universal agreement

that there is no need for additional HHA providers. Id.

      Separately, but related, an increase in HHA licensees that would require

additional regulatory oversight would clearly cause an unreasonable burden to the

agency. See supra at Section 7. Right now, MSDH conducts close oversight for 46 well-

maintained and compliant HHAs and 107 branch offices. A small increase would

necessarily cause problems. A big influx (e.g. another 50 licensees) would double the

number of licensees and create an untenable situation.

      The Legislature, in addition to maintaining the Legislative Moratorium for a

number or years, also funds MSDH via appropriations. The Legislature can thus

determine for itself that MSDH is at an optimal level to balance workload and competent

administrative oversight to benefit Mississippi’s public consumers. It is not a stretch to

imagine that with twice as many licensees, MSDH’s oversight could become overly

burdensome, or in some cases impossible to maintain if all CON restrictions disappear

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as Plaintiff requests. Again, the point here is that the Legislature is authorized

determine that MSDH is at the appropriate staffing level and that there is simply no

need for staff to be over-tasked because Plaintiff and those PT/OTs like him want to be

able to recover additional funds from CMS reimbursement.

      Plaintiff further argues that Moratorium is “not rationally tailored to preserve

regulatory resources.” Doc. 89 at 19. He claims that even if the State’s desire to limit

the demand for its regulatory resources were intended to benefit consumers in some

way, it would still fail rational basis scrutiny because the moratorium is not a “rational

way to put that limit into practice.” Id. citing Newell-Davis, 2023 WL 1880000 at *4,

n.2. Plaintiff then admits that Newell-Davis does not even address this issue, but

nevertheless launches into a hypothetical analysis based on dicta. Id. There is no

government payor in Newell-Davis and it’s a wholly different set of circumstances. The

Fifth Circuit nevertheless held that so long as there is some conceivable consumer

benefit to the consumers of home health, related to the Moratorium, the law is to be

upheld. Id. The similar consumer benefit here is that the Legislative Moratorium

maintains providers at a reasonable number, so that the MSDH can effectively

supervise HHA providers.

      Moreover, despite Plaintiff’s attempt to suggest otherwise, there is no

requirement that the Legislature’s solution to a perceived problem be accomplished by

the “least restrictive means”. Planned Parenthood of Greater Texas Surgical Health

Servs. v. Abbott, 748 F.3d 583, 594 (5th Cir. 2014)(“[T]here is no least restrictive means

component to rational basis review.”). In fact, the State does not have to prove or

disprove that the Moratorium accomplishes anything. Instead, all the state needs to

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show is that the adoption of the Legislative Moratorium could rationally have been

thought to maintain administrative oversight at a reasonable level, or to contain costs

borne by the State as a result of its direct payor role in HHA. Both have been shown to

exist and Plaintiff’s argument therefore falls short.

      As shown in the MSDH motion and here, if the Moratorium on HHA CON were

to be struck down, there is clearly a very real chance that there will be a substantial

number of new applicants who, like Plaintiff, cannot meet the requirements of CMS or

the CON Laws, and are not needed based on current assessment. 18 applications across

all industries are the most applications reviewed in recent history according to HMA

report. Doc. 84-6. So, it would only take 20 new CON applications to exceed the busiest

year in memory for MSDH. Separately, since there are only 46 agencies now according

to Plaintiff, the theoretical grant of the CON and subsequent licensure of only those 20

new providers would be a 50% increase in the number of HHAs that would have to

monitored. There are over 4000 licensed Physical Therapists or Occupational Therapists

that would all immediately qualify to apply if Plaintiff’s claim about the moratorium is

given merit by this Court.

      And even if, as a matter of a fact, Plaintiff could prove that there would be no

increase in MSDH workload, it would still be rational for the Legislature, in its wisdom,

to believe that by limiting the number of providers in any of the 19 covered health care

facility types, the Moratorium (and the CON Laws in general) would prevent a

substantial amount of burden or additional work on MSDH’s planning and licensing

divisions. Supra Section 7 and FN 6. Especially where there has never been a need

shown. Id. Like the Newell-Davis case, the Legislature here could easily believe that,

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because there are ample providers, and no demonstrations of a “need” for additional

HHA providers, Mississippi consumers would benefit by virtue of close/constant

oversight by MSDH of the state-limited number of HHA providers, as opposed to

allowing open market access and less oversight.

      Furthermore, regarding removal of the Legislative Moratorium, the Legislature

could rationally believe that it should rely upon the Board of Health and MSDH to

advise the bill-writers and policy makers in the legislative assembly if there is a global

policy change needed for HHAs. Certainly, the regulators and planners would prefer

discretion be provided to them, and Plaintiff attempts to make hay of this. Doc. 89 at

13-14. But personal preferences are irrelevant, as is the policy of a Commission that it

preferred to be provided with discretion. Their preferences are understandable as all

these people are/were regulators and appreciate discretion. But even a disagreement

among the Legislature on the one hand, and the Board (or MSDH) on the other as to

who should maintain discretion simply does not equate to irrationality when it comes to

the Legislature. Lampton Depo Doc. 88-2 at 24:16-20 (“As far as moratoriums, you know,

that's a legislative decision. It's not a CON decision.”).

      A board or agency’s discretion to do or not do certain things is expressly

authorized by the Legislature. In some instances, such as in 1979, discretion was

afforded to the planning commission to oversee HHAs. The commission at the time

installed the Administrative Moratorium and repeatedly reported to the Legislature

that there was no need for additional HHA providers. Doc 85. at 5-7. Hence, in 1983,

the Legislature took back the discretion that it had extended four years prior. Id. at 8.




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For all the reasons described this action by the Legislature can only be seen as

intentional and rational.

9.     The Legislative Moratorium Does Not “Target” Plaintiff or Home Health Start-
ups.
       Plaintiff argues next that the Moratorium “inexplicably targets home health

startups” such that it is unconstitutional. Doc. 89 at 20. However, Plaintiff has not

pointed to any other similarly situated individuals who are treated differently. See Doc.

85 at 32-33. Instead, he points only to the distinction of those HHAs that existed prior

to 1983, and those that apparently were conceived after the enactment of the Legislative

Moratorium. Doc. 89 at 20. The only distinguishing difference Plaintiff can cite is the

existence of the authorized HHAs in 1983 at the time of adoption of Legislative

Moratorium, and the non-existence of all other HHAs (or CON applicants) post-1983.

This is not an example of inexplicable targeting.

       Further, the text of statute itself proves definitively there is no target. Miss. Code

Ann 41-7-191(8). The statute does not even directly apply to the Plaintiff. In fact, the

statute only applies to MSDH in that it prohibits MSDH expressly by its terms. The

statute expressly states that unless an express exemption in another subsection applies,

“no application shall be considered” for a new HHA CON. It similarly prohibits the other

four enumerated facility-types. Doc. 85 at 8-9. The statute is on its face is a prohibition

on MSDH considering new applications in an industry where there is no known or

shown “need” for additional providers. The BOH and MSDH have never seen a

demonstration of “need” for additional providers and have never made the

recommendation to the Legislature that the HHA industry needs additional agencies.

Lampton Depo. Doc. 88-2 at 198.

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      It is completely rational therefore that in 1983, and each time § 41-7-191 was

amended without changing this provision, the Legislature could rationally believe that

the Legislative Moratorium on HHA was in the best interest of the State and its citizens.

The Legislature likewise could rationally decide not to remove the moratorium on new

HHA CON applications unless and until there is a categorical recommendation of

additional need within the HHA industry by the Board of Health. In the absence of such

a recommendation, there is no ground for Plaintiff to invalidate the actions of the

Legislature. See supra FN 3.

      The only other alternative is that the Legislature could be convinced at any time

by Plaintiff and his cohorts that their public policy argument is better than the State’s

existing policy on the HHA moratorium. Again, that’s the way the legislative process

works. Rational basis review by this Court is not an opportunity to weigh the merits of

both sides of an obvious policy debate. Planned Parenthood of Greater Texas, 748 F.3d

at 594 (“The fact that reasonable minds can disagree on legislation, moreover, suffices

to prove that the law has a rational basis.”).

      As mentioned, Sullivan and Lampton’s personal opinions about the Legislative

Moratorium are wholly irrelevant to rational basis review. See Doc. 89 at 13. Everyone

has an opinion, and some are more relevant than others. But in our form of government,

only the elected representatives of the people are allowed to adopt new laws or amend

existing ones. Further illustrating Plaintiff’s error in asserting HHAs are singled out

for abuse: there are four (4) other health care industries that are also on the Legislative

Moratorium statute. Doc 85 at 8-9. This includes a complete ban on expansion of nursing

beds with an exception for 1990. Id; HMA Report Doc, 84-6. It is hardly a targeted


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situation when industries come and go from the Moratorium statute (which is extensive)

based on changes in demographics, preferences, or demand for services. Doc. 85 at 8-9.

As explained, when this case was first filed, there were 6 facilities on the moratorium.

Id. In 2021, adolescent psych beds were removed from the list by the Legislature. Id.

The moratorium is not “permanent” or “perpetual” when the Legislature can and will

amend the list of facilities on the moratorium when there is a clear need or a

recommendation from the Board that a facility be removed from the restrictions. The

fact that the Legislature has not yet agreed with Plaintiff’s policy position—and

removed the HHA moratorium—does not render the law irrational.

      Further, as shown by this year’s recommendations to the Legislature, the Board

clearly has no concerns about recommending that entire facility types be removed from

the CON law requirements altogether. Doc. 84-1; Doc 85 at pp. 3, 10. Dr. Lampton also

testified that in his role as chairman of the Board of Health, and CON Committee, he

would have no problem recommending to the Board that the moratorium be removed, if

there is sufficient demonstration of additional “need.” Lampton Depo. 88-2 at 176-177:8.

The system in place is set up such that the Board of Health reviews, studies and

considers all data impacting the State as a whole. For the Legislature to rely on the

obvious experts on the Board to make a global recommendation as to HHA needs—as

opposed to having to conduct hearings ad hoc on each application—is rational and the

Legislative prerogative must be respected. Unless or until the either the Board is

convinced that a need for new HHAs is present such that it recommends removing HHA

from the moratorium statute, or the Legislature is convinced to remove it based on the

will of the majority, the HHA Legislative Moratorium should remain in place.

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      Lastly, Plaintiff has gone to great lengths to demonstrate that his side believes

the Moratorium does harm to patient “access” in Mississippi. Doc. 89 at 23. Even if

Plaintiff is correct that he has proved the moratorium harms “access” or disproved the

administrative benefits to consumers by limiting applications and licenses, the very real

cost containment functions, continuity of care by maintaining patient censuses, and

statewide availability benefits (and others) are still viable state interests that are

furthered by both sets of laws at issue. See Doc. 85 at 18-27.

      As described in a number of places, the CON Law and Moratorium provide “cost

containment” to the government where the government is a payor of the vast majority

of costs. This direct payor relationship is unique. Doc. 85 at 19. Cost containment here

works by limiting the number of providers that can seek reimbursement from the State.

Id. Despite assertions otherwise, cost containment does not have to be for the consumer.

Cost containment may be for the government’s benefit and is directly related to the

number of providers seeking reimbursement. It is likewise related to keeping out of

these highly regulated industries, providers that are unscrupulous or out-right frauds.

Doc. 84-4 at 4(4). As described by Sullivan, HHA is one of the industries that has been

susceptible to bad-actors preying not only on HHA consumers, but also by virtue of out-

right fraudulent submissions for HHA reimbursements. Id; Doc. 85 at 14. It does not

take an expert to understand that if an HHA does not have a fixed location for business,

and all medical services are taking place in the patient’s home, it is very difficult to

determine whether the services billed have actually been performed prior to CMS

issuing repayment. This potential fraud is very real and can be seen in the real

experience of the state of Florida when it removed all barriers to entry such as Plaintiff

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advocates here. See MAHC designee Becky Knight Depo., Doc 88-8 at pp. 12, 171-176

(discussion of effects on HHA without CON restrictions.).

        Plaintiff argues that maintaining profitable margins, sufficient patient census,

and economies of scale are only interests that relate to the rationale for the CON Law—

not the Moratorium. Doc. 89 at 14. This interesting in that it admits at least three state

interests are valid—but it is still wrong. CON Laws undoubtedly limit the number of

providers in HHA, subject to the standards which apply in any given application.

Plaintiff has repeatedly complained that the standards are too stringent because he has

to prove “need.” If, as shown in MSDH motion, and admitted by Plaintiff, CON laws

limitation of providers improves cost containment, and keeps existing HHA’s from going

bankrupt, then it necessarily follows that a separate law (the Legislative Moratorium),

which expressly prohibits the issuance of any new CON must also serve the same

purposes. The fact that one law is redundant of another does not invalidate the rational

basis for either of the laws. McNeilus Truck & Mfg., Inc. v. Ohio ex rel. Montgomery,

226 F.3d 429, 440 (6th Cir. 2000)(“belt-and-suspenders approach to regulation passes

muster, because the redundant nature of the statute does not preclude its being

rationally related to protecting Ohio consumers.”); see also Mech. Contractors Ass'n of

New Jersey, Inc. v. New Jersey, 541 F. Supp. 3d 477, 488 (D.N.J. 2021)(collecting cases).

10.     The CON Laws Are Constitutional

        As demonstrated, MSDH is entitled to summary judgment in its favor as a result

of the various state interests that were rationally believed would be furthered by the

CON Laws. Doc. 84,85,82,83. Plaintiff has argued that the CON standards too difficult

to show there is a “need” for additional HHAs. Plaintiff has even never tried. Lampton

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Depo., Doc. 88-2 at 177:16-178:3. A demonstration of need related to CON laws has

previously been validated by this Circuit. See Martin, 86 F.3d at 1399–400. Plaintiff’s

failure to establish “need” is fatal to his claims.

       Plaintiff further complains that the CON Application is expensive and difficult.

Does that make it unconstitutional? No. As demonstrated above, the application process

is also taxing on MSDH, the Board of Health and the courts. Moreover, it is much easier

to get a CON in Mississippi than in other states. Doc. 84-4 at 24. Plaintiff argues that

existing competitors can “expand” to absorb any “need” that might exist. But this

expansion of census is not instant and not automatic. Sullivan Rpt. 84-4 at 31-32. Any

alleged absorbing of need would have to get MSDH and Board approval prior to

expansion patient census.

       Additionally, even if Plaintiff is correct and he receives all the relief he has

requested here, he won’t qualify to be a HHA because he cannot meet the minimum

threshold standards. Mr. Slaughter is not a nurse. The first requirement of a HHA is to

provide “skilled nursing services”. Doc. 84-4 at 5. CMS also requires the same

qualifications. Id. Even if the CON Law and moratorium were removed, Slaughter won’t

qualify for reimbursement because he cannot meet basic requirements to provide

nursing care. As such, even if Plaintiff successfully defeats the Legislative Moratorium,

so long as the CON requirements remain, Plaintiff will not qualify or have in alleged

injury redressed. So, his arguments against the moratorium are truly moot.

       Plaintiff again argues that the CON laws are protected by established

competitors and that must mean the economic protectionism is the lone goal. Dr. Edney

has previously addressed this issue. As described above and elsewhere, the cost

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containment benefit is to the government where the government is the payor. Plaintiff

again cites an inapplicable case Medigen of Ky., Inc. v. Pub. Serv. Comm’n of W. Va.,

985 F.2d 164, 167 (4th Cir. 1993). That case does not concern government payors for

the service at issue and pertains to the public service commission of West Virginia’s

price controls. The State is not trying to control prices paid by consumers necessarily,

the state is trying to control the number of reimbursement requests coming from

trusted, verified and needed providers. Unlike Medigen or any other public service

commission case, there is no claimed state interest here in “providing universal service

at reasonable rates.” Id.

      Plaintiff states generally that “most states no longer have CON restrictions.” In

fact, 35 states have some form of CON or a related mechanism with regard to healthcare

facilities. Doc. 84-4 at 10. Plaintiff can point to no case law supporting overturning CON

as unconstitutional. Likewise, he also reiterates that the FTC and other agencies

allegedly oppose CON. But Sullivan’s report details that the FTC’s order is unfounded,

partial, and was hotly contested by a dissenting opinion that mirrors the position taken

by MSDH. Id at 10-12. If anything, a federal agency’s contested recommendation is not

determinative, and in fact further demonstrates that the exact same debate Plaintiff

now argues is settled, has been raging within multiple industries since the federal

government mandated CON laws be passed by all states in 1975. As shown in the

Motion of MSDH, there is an independent rationale for the CON Laws that it was wholly

reasonable (and pretty obvious) that the Legislature could have been motivated to pass

the CON Laws solely for the purposes of benefiting the State by assuring federal access




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to federal funds that would have been withheld if the Mississippi Legislature did not

adopt the CON Law. Doc. 85 at 18-19.

      The “access to care” interest of the state is much more complicated than Plaintiff

pretends. Plaintiff may be correct in his reliance on Medigen and other cases to support

his claim that “restricting market entry…necessarily limits available service because it

limits the number of [providers] from which a [customer] can seek service.” Doc. 89 at

23. But that statement is only true in a pure “free market” economic context. See Doc.

84-4 at 8-9. Medigen is not a government payor situation and is inapplicable here.

Instead, the HHA market is primarily one where the State is left paying the bill. Hence,

the considerations are completely different from non-government pay industries, such

as coffins, ambulances, or respite homes. Healthcare industry operations are, as

explained by Sullivan, essentially the opposite of free markets. Id. Doc. 85 at 19-20. As

such, Plaintiff’s assertion of similarity is misplaced.

      Plaintiff also cites Walgreen Co. v. Rullan, 405 F.3d 50, 60 (1st Cir. 2005) (holding

that pharmacy CON law “cannot reasonably be thought to advance” purpose of ensuring

pharmacies in underserved areas) for the proposition that less providers equates to less

access. This issue has been discussed frequently and is without merit. A private

pharmacy is not primarily a government payor facility. Also, the CON laws expressly

require that each applicant provide indigent services as a condition of their receiving a

CON. Doc. 85 at 24. Hence, the CON requirement provides a means for the State to

assure access to indigent people, and availability of services to all Mississippians, not

just those with insurance or money. Id. The determination in Walgreen v. Rullan is

wholly inapplicable to the situation at hand.

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      As to the CON Law’s improvement of healthcare quality, Plaintiff argues that in

states where CON laws regulate provider entry into healthcare markets, incumbents

“‘tend to provide lower-quality services.’” Doc. 89 at 27. He claims this rationale extends

to HHA via three studies relied upon by Plaintiff’s expert Strattman. Id. All this post

hoc study is wholly irrelevant to the question at hand: could the Legislature in 1979

have rationally believed that the CON Laws might improve quality of services for

consumers. And on this point, the MSDH expert Sullivan has detailed the number of

ways that CON laws may improve quality of services. Doc. 84-4 at 9, 18-23. At worst,

this is another example of experts clashing and relying upon competing studies to

support their own policy arguments. The issue of whether CONs improve quality of

healthcare services is supported on both sides and should therefore be resolved in favor

of the State. Planned Parenthood of Greater Texas, 748 F.3d at 594.

      In conclusion, the CON Laws are supported by no less than six rational state

interests that could reasonably have been considered to be furthered by the CON Laws.

Many of the same state interests (plus additional consumer benefits furthered by

reasonable oversight) apply to the Legislative Moratorium. The fact that both sides have

evidence and experts to support their own policy positions is determinative and should

resolve this matter in favor of the CON Laws and the Legislative Moratorium.

Plaintiff’s motion is simply not sufficient to meet the difficult burden that this Court

rightfully requires prior to invalidating a lawfully (and rationally) adopted state statute.

Plaintiff’s motion should therefore be denied.




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                                  Respectfully submitted,
                                  Dr. Daniel P. Edney, in his official capacity as the
                                  Mississippi State Health Officer

                                  BY:     LYNN FITCH, ATTORNEY GENERAL FOR
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                                     BY     /s/ Stephen Schelver
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                             CERTIFICATE OF SERVICE

      I, Stephen Schelver, Special Assistant Attorney General for the State of

Mississippi, do hereby certify that on this date I electronically filed the foregoing with

the Clerk of this Court using the ECF system thereby serving a copy to all counsel of

record.

      This the 1st day of March 2024.

                                                 /s/ Stephen Schelver
                                                 Stephen Schelver




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